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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF 1

FORT WORTH DIVISION

TEXA
BL ERK, U.S. DISTRICT COURT
By

Deputy

UNITED STATES OF AMERICA
Vv. No. 4:23-MJ-429

DANIEL LOYOLA-SORIA (01)

CRIMINAL COMPLAINT

I, the undersigned complainant, being duly sworn state the following is true and correct to
the best of my knowledge and belief:

Alleged Offense:

On or about May 16, 2023, in the Northern District of Texas, defendant Daniel
Loyola-Soria, an alien, was found in the United States having previously been
deported and removed from the United States on or about December 01, 2017, and
he had not received the consent of the Attorney General of the United States or the
Secretary of the Department of Homeland Security, to reapply for admission to the
United States, in violation of 8 U.S.C. § 1326(a) and (b)(2).

Probable Cause:

I, Eugenio Vela, being duly sworn, depose and swear the following information is true and
correct to the best of my ability. | am a Deportation/Task Force Officer (DO/TFO) with the
Department of Homeland Security, Immigration and Customs Enforcement (ICE) Homeland
Security Investigations (HSI), currently assigned to the HSI Dallas Gangs & Violent Crimes —
Fort Worth Task Force, with over 15 years’ experience, duly appointed according to law and
acting as such.

1. This affidavit is made in support of a criminal complaint in the case of the United States
v. Daniel Loyola-Soria. The affiant has probable cause to believe that the defendant,
Daniel Loyola-Soria, is a previously deported alien, who unlawfully returned to the
United States in violation of 8 U.S.C. § 1326(a) and (b)(2). Loyola is an alien previously
encountered by the DHS and/or legacy INS. DHS therefore maintains an “Alien File” or
“A-file” for Loyola that contains government records and documentary evidence related
to his citizenship, nationality, alienage, immigration history, and any immigration

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applications submitted by him or on his behalf. The statements in this affidavit are based
on my personal knowledge and experience, investigation of the facts, review of
documents contained in the A-file assigned to the defendant, information contained in
DHS and law enforcement electronic databases, and information provided to me by
witnesses or other law enforcement officers. Because this affidavit is being submitted for
the limited purpose of establishing probable cause for a criminal complaint, I have not
included each and every fact known to me concerning this investigation. I have set forth
those facts that I believe are necessary to establish probable cause of a violation of a
federal criminal offense, specifically, 8 U.S.C. § 1326 (a) and (b)(2), legal Reentry
After Deportation.

. Loyola is a citizen and national of Mexico, born in in Ciudad Acuna, Coahuila, Mexico.

Loyola is not a citizen or national of the United States and does not have legal
immigration status in the United States.

. On or about March 29, 2013, in the U.S. District Court for the Northern District of Texas,

Fort Worth Division, Loyola was convicted of Conspiracy to Possess with Intent to
Distribute a Controlled Substance, in violation of 21 U.S.C. § 846, and sentenced to 50
months’ imprisonment (later reduced to 41 months).

. On or about January 7, 2016, Loyola was ordered removed by an Immigration Judge in

Oakdale, Louisiana. He was first removed from the United States to Mexico pursuant to
that order of removal on January 21, 2016.

. Onor about November 9, 2016, in the U.S. District Court for the Western District of

Texas, Loyola was convicted of Illegal Reentry After Depuration, in violation of 8
U.S.C. § 1326(a) and (b)(1)/(2), and sentenced to 24 months’ imprisonment, after being
found back in the United States.

. On or about December 01, 2017, Loyola was again removed from the United States to

Mexico through Hidalgo, Texas.

. In and about February of 2023, ICE officials received information that Loyola might be

back in the United States. ICE officials reviewed the Johnson County Jail visitor log and
visitor contact list for Daniel Loyola, Jr., son of Loyola, who is currently being held at
Johnson County Jail on federal firearm charges.

. On February 27, 2023, a public record query of the residence address located at 4321

Odessa Avenue, Fort Worth, Texas, 76133, returned to Loyola’s wife as the occupants of
the residence.

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9. On or about April 24, 2023, ICE Agents Vela & Bilbo, while conducting surveillance on
social media, came across a Facebook account with the name “Daniel Loyola”. The user
from the account “Daniel Loyola” was posting several videos and pictures of his person.
The user of the same account posted several pictures of himself preaching at a location in
Fort Worth, Texas, and sitting at a burial site on April 23, 2023. On April 24, 2023, |
positively identified Loyola based on the social media photos and in comparison to
previous jai! booking photographs associated with his prior immigration encounters.

10. On May 16, 2023, ICE Agent Bilbo was conduct conducting surveillance at 4321 Odessa
Avenue, Fort Worth, Texas, believed to be the residence of Loyola and his wife. At
approximately 7:55 am, ICE Agent Bilbo observed Loyola get into a dark blue 2001
Chevrolet Silverado work truck bearing TX License plate SDC 5321 parked at the
residence. A system record query of Texas license plate SDC 5321 identified the
Chevrolet Truck as registered to Loyola’s wife. Agent Bilbo was able to positively
identify Loyola based on the social media photos and in comparison to previous jail
booking photographs associated with his prior immigration encounters.

11. On May 16, 2023, at approximately 8:05 am, ICE Agent Bilbo conducted surveillance by
following Loyola to a residence located on McCart Avenue in Fort Worth, Texas and
picking up an unidentified adult Hispanic male.

12. A review of automated immigration systems did not indicate that Loyola ever applied for
or received permission from the United States Attorney General or the Secretary of the
Department of the Homeland Security to reenter the United States at any time after being
removed from the United States. Moreover, there is no indication that Loyola applied for
or received a visa or permit or was paroled to enter the United States lawfully after his
last removal from the United States.

Based upon the above facts and circumstances, I believe there is probable cause to believe that
Daniel Loyola-Soria, an alien illegally and unlawfully ppesent in the United States, did

knowingly and unlawfully reenter into the Unitec_States pfteg a prior removal, in violation of 8
U.S.C. § 1326(a) and (b)(2).

“Vela
Deportation/Task Force Officer
Homeland Security Investigations

SWORN AND SUBSCRIBED before me, at [i Bhameimy this#*Ray of May 2023, in

Fort Worth, Texas. _tat ¥ . C-, ’ t

HALR.RAY,JR. °
UNITED STATES MAGISTRATE JUDGE

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